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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
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     EDDIE LOUIS SMITH III,                         CASE NO. C19-5096 BHS-JRC
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                            Plaintiff,              ORDER ADOPTING REPORT
 9         v.                                       AND RECOMMENDATION AND
                                                    DISMISSING REMAINING
10   BELINDA D. STEWART, et al.,                    CLAIMS WITHOUT PREJUDICE

11                          Defendants.

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13         This matter comes before the Court on the Report and Recommendation (“R&R”)

14   of the Honorable J. Richard Creatura, United States Magistrate Judge, Dkt. 110, and

15   Defendants’ objections to the R&R, Dkt. 111.

16         On July 29, 2020, Judge Creatura issued the R&R recommending that the Court

17   grant Defendants’ unopposed motion for summary judgment in part and deny it in part.

18   Dkt. 110. On August 12, 2020, Defendants filed objections. Dkt. 111. On September

19   25, 2020, the Court requested a response from Plaintiff Eddie Smith (“Smith”) regarding

20   whether he was actively prosecuting this matter because he had been inactive for a few

21   months. Dkt. 112. The Court set a response deadline of October 9, 2020 and warned

22   Smith that failure to respond would result in adopting the R&R and dismissing his

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 1   remaining claim with prejudice. Id. As of the date of this order, Smith has failed to

 2   respond.

 3          Therefore, the Court having considered the R&R, Defendants’ objections, and the

 4   remaining record, does hereby find and order as follows:

 5          (1)    The R&R is ADOPTED;

 6          (2)    Defendants’ motion is GRANTED in part and DENIED in part;

 7          (3)    Smith’s remaining claims are DISMISSED without prejudice; and

 8          (4)    The Clerk shall enter a JUDGMENT and close the case.

 9          Dated this 21st day of October, 2020.

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                                               A
                                               BENJAMIN H. SETTLE
                                               United States District Judge

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